     Case 8:19-cv-00315-JLS-JDE Document 32 Filed 10/13/19 Page 1 of 20 Page ID #:178




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13    TERESA PERKINS; and
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14

15                                 UNITED STATES DISTRICT COURT
16                                CENTRAL DISTRICT OF CALIFORNIA
17

18    TERESA PERKINS, as Successor-in-Interest to            CASE NO.: 8:19-cv-00315-JLS-JDE
19
      Decedent Justin Perkins; and DAVID
      MICHAEL PERKINS,                                       SECOND AMENDED COMPLAINT FOR
20
                                                             DAMAGES
21                              Plaintiffs,                  (42 U.S.C. Section 1983 and pendent tort
                                                             claims)
22           vs.
                                                             JURY TRIAL DEMANDED
23
      CITY OF ANAHEIM, a municipal corporation;
24    SHIAO WANG, individually and in his capacity
25
      as a police officer for the CITY OF ANAHEIM;
      KENNY LEE, individually and in his capacity as
26    a police officer for the CITY OF ANAHEIM;
      KENNETH EDGAR, individually and in his
27
      capacity as a police officer for the CITY OF
28    ANAHEIM; RICKY REYNOSO, individually
      and in his capacity as a police officer for the



                                      Second Amended Complaint for Damages - 1
     Case 8:19-cv-00315-JLS-JDE Document 32 Filed 10/13/19 Page 2 of 20 Page ID #:179




      CITY OF ANAHEIM; CASEY MORRISON,
1
      individually and in his capacity as a police
2     officer for the CITY OF ANAHEIM; and DOES
      1-50, inclusive, individually and in their official
3     capacities as Police Officers for the CITY OF
      ANAHEIM Police Department,
4

5                                  Defendants.

6

7                                                INTRODUCTION

8            1.      This case arises out of the wrongful death of Justin Perkins. On October 27, 2018, at

9     approximately 8:30 a.m., Anaheim Police Department Officers were called for service at or near the

10    location of 2235 West Broadway, in Anaheim, California. At some point, the Defendant Anaheim

11    Police Officers SHAIO WANG, KENNY LEE, and/or DOES 1-25, confronted Justin Perkins at Apt.

12    A115. The officers thereafter attempted to arrest Perkins despite Perkins’ protest of innocence of any

13    criminal wrongdoing. During their attempted arrest, the defendant officers repeatedly struck Perkins

14    about his head, face, and body with closed fists. Justin’s uncle, Mike Perkins stood within feet of the

15    struggle and shouted to the defendant officers, “He’s not trying to hurt you! He’s just scared he has a

16    mental disorder!”

17           2.      However, the Defendant officers continued their assault on Perkins with several baton

18    strikes to his head and body. Finally, one of the defendant officers dropped his baton and began to

19    choke Perkins. A second officer continued to physically strike Perkins while the other officer struck

20    him. Witnesses contend that Perkins only attempted to protect himself from the assault by the

21    defendant Anaheim police officers. Nonetheless, the defendant officers continued to beat and choke

22    Perkins until his body went limp. The officers then handcuffed Perkins and stood him on his feet.

23    Perkins appeared dazed and unable to stand on his own power. Nevertheless, the defendant officers

24    forced Perkins to walk with their assistance for a few feet before Perkins collapsed. Perkins appeared

25    to be unconscious and not breathing. The Defendant officers then proceeded to apply pressure to

26    Decedent’s back with their hands and knees while Decedent was lying prone on the ground, on

27    information and belief-obstructing his ability to breathe. The officers then proceeded to apply a

28    hobble restraint on Decedent while it was evident that he was laboring to breathe. The Defendant




                                         Second Amended Complaint for Damages - 2
     Case 8:19-cv-00315-JLS-JDE Document 32 Filed 10/13/19 Page 3 of 20 Page ID #:180




1      officers then checked Perkins for a pulse, but were unable to find one. On information and belief,
2      Plaintiff contends after a period of at least forty-five (45) minutes without providing medical
3      attention Perkins was later transported to Anaheim West Hospital. On information and belief,
4      Plaintiff contends that Decedent’s neck and throat were injured from the botched application of the
5      unapproved chokehold and that his body and organs were severely damaged due to lack of oxygen.
6              3.        As a result of the officers’ unconstitutionally abusive and negligent conduct, Perkins
7      was pronounced dead on October 31, 2018.
8              4.        On information and belief, prior to his death, the officers were on notice that Perkins
9      was suffering from a physical condition that required the provision of immediate medical attention.
10     Perkins was visibly dazed and unable to stand on his own power.
11             5.        On information and belief, Perkins’ debilitated physical condition caused by
12     defendants’ physical attacks were ignored by defendant officers.
13             6.        This civil rights and wrongful death action seeks compensatory and punitive damages
14     against Defendants for violating various rights under the United States Constitution, The Americans
15     with Disabilities Act, and California state law in connection with the wrongful death of the Decedent,
16     Justin Perkins.
17                                          JURISDICTION AND VENUE
18             7.        This action arises under Title 42 of the United States Code, § 1983 and 12132. Title 28
19    of the United States Code, §§ 1331 and 1343 confers jurisdiction upon this Court. The unlawful acts
20    and practices alleged herein occurred in the City of Anaheim, California, which is within the judicial
21    district of this Court.
22             8.        The Supplemental Jurisdiction of this court is invoked pursuant to 28 U.S.C. §
23     1367 over the State law claims which are so related to federal claims in the action that they form part
24     of the same case or controversy under Article III of the Constitution of the United States of America.
25             9.        Venue is proper in this Court under 28 U.S.C. § 1391(b) because Defendants are
26     believed to reside in this district and all incidents, events, and occurrences giving rise to this action
27     occurred in this district.
28




                                            Second Amended Complaint for Damages - 3
     Case 8:19-cv-00315-JLS-JDE Document 32 Filed 10/13/19 Page 4 of 20 Page ID #:181




1

2                                                           PARTIES
3            10.     Decedent Justin Perkins (hereinafter "Decedent") was an individual residing in the
4     State of California. Decedent died intestate. Decedent did not file any legal actions prior to his death.
5     To the extent that this action seeks to recover damages for the violation of rights personal to
6     Decedent, this action is maintained by his Successor-in-Interest TERESA PERKINS. Said Plaintiff is
7     the person with standing to bring this action as Decedent was unmarried at the time of his death.
8            11.     Plaintiff TERESA PERKINS (hereinafter “Plaintiff TERESA PERKINS”) is and was
9     at all times herein mentioned the biological mother of Decedent. Plaintiff TERESA PERKINS sues in
10    her individual capacity and as Successor-in-Interest to Decedent.
11           12.     Plaintiff DAVID MICHAEL PERKINS (hereinafter “Plaintiff DAVID MICHAEL
12    PERKINS”) is and was at all times herein mentioned the biological uncle of Decedent. Plaintiff
13    DAVID MICHAEL PERKINS sues in his individual capacity.
14           13.     Defendant CITY OF ANAHEIM (hereinafter “CITY”) is an incorporated public entity
15    duly authorized and existing as such in and under the laws of the State of California; and at all times
16    herein mentioned, Defendant CITY has possessed the power and authority to adopt policies and
17    prescribe rules, regulations and practices affecting the operation of the Anaheim Police Department
18    and its tactics, methods, practices, customs and usage. At all relevant times, Defendant City was the
19    employer of SHAIO WANG, KENNY LEE, KENNETH EDGAR, RICKY REYNOSO, CASEY
20    MORRISON, and DOE Defendants, individually and as peace officers.
21           14.     At all times herein mentioned Defendant, SHIAO WANG (hereinafter “WANG”) is
22    an officer of the CITY Police Department. WANG is, and at all times mentioned herein, an
23    employee of the CITY. He is being sued individually and in his official capacity as an officer of the
24    CITY Police Department.
25           15.     At all times herein mentioned defendant, KENNY LEE (hereinafter “LEE”) is an
26    officer of the CITY Police Department. LEE is, and at all times mentioned herein, an employee of
27    the CITY. He is being sued individually and in his official capacity as an officer of the CITY Police
28    Department.




                                        Second Amended Complaint for Damages - 4
     Case 8:19-cv-00315-JLS-JDE Document 32 Filed 10/13/19 Page 5 of 20 Page ID #:182




1            16.     At all times herein mentioned defendant, KENNETH EDGAR (hereinafter
2     “EDGAR”) is an officer of the CITY Police Department. EDGAR is, and at all times mentioned
3     herein, an employee of the CITY. He is being sued individually and in his official capacity as an
4     officer of the CITY Police Department.
5            17.     At all times herein mentioned defendant, RICKY REYNOSO (hereinafter
6     “REYNOSO”) is an officer of the CITY Police Department. REYNOSO is, and at all times
7     mentioned herein, an employee of the CITY. He is being sued individually and in his official
8     capacity as an officer of the CITY Police Department.
9            18.     At all times herein mentioned defendant, CASEY MORRISON (hereinafter
10    “MORRISON”) is an officer of the CITY Police Department. MORRISON is, and at all times
11    mentioned herein, an employee of the CITY. He is being sued individually and in his official
12    capacity as an officer of the CITY Police Department.
13           19.     Plaintiff is ignorant of the true names and capacities of Defendants DOES 1 through
14    25, inclusive, and therefore sue these defendants by such fictitious names. Plaintiff alleges
15    Defendants DOES 1 through 25 violated Decedent's civil rights, wrongfully caused his death, and/or
16    encouraged, directed, enabled and/or ordered other defendants to engage in such conduct. Plaintiff
17    further alleges that the Defendant DOE Anaheim Police Department Officers violated Plaintiff’s
18    Fourteenth Amendment rights to familial association and companionship, failure to provide medical
19    attention, and caused the wrongful death of Decedent. Plaintiff will amend this Complaint to state the
20    names and capacities of DOES 1 through 25, inclusive, when they have been ascertained.
21           20.     Plaintiff is ignorant of the true names and capacities of Defendant DOES 26 through
22    50, inclusive, and therefore sues these defendants by such fictitious names. Plaintiff is informed and
23    believe and thereon allege that each Defendant so named was employed by Defendant City at the
24    time of the conduct alleged herein. Plaintiff alleges that each of Defendant DOES 26 through 50
25    were responsible for the training, supervision and/or conduct of the officers and/or agents involved in
26    the conduct alleged herein. Plaintiff alleges that each of Defendant DOES 26 through 50 was also
27    responsible for and caused the acts and injuries alleged herein. Plaintiff will amend this Complaint to
28    state the names and capacities of DOES 26 through 50, inclusive, when they have been ascertained.




                                        Second Amended Complaint for Damages - 5
     Case 8:19-cv-00315-JLS-JDE Document 32 Filed 10/13/19 Page 6 of 20 Page ID #:183




1                                      PRELIMINARY ALLEGATIONS
2            21.     The City of Anaheim is a public entity and is being sued under Title 42 U.S.C. § 1983
3     for violations of the Fourth and Fourteenth Amendments of the United States Constitution, California
4     state law, the California Tort Claims Act, and the Government Code for the acts and omissions of
5     Defendants WANG, LEE, EDGAR, REYNOSO, MORRISON, and/or DOES 1-25, and each of them,
6     who at the time they caused Plaintiff’s and Decedent's injuries, damages, and death, were duly
7     appointed, qualified and acting officers, employees, and/or agents of CITY and acting within the
8     course and scope of their employment and/or agency.
9            22.     Plaintiff alleges that the conduct of each defendant deprived Decedent of his
10    constitutional right to life and caused Decedent to suffer grievous harm prior to his death.
11           23.     Each of the Defendants caused and is responsible for the unlawful conduct and
12    resulting harm by, inter alia, personally participating in the conduct, or acting jointly and in concert
13    with others who did so, by authorizing, acquiescing, condoning, acting, omitting or failing to take
14    action to prevent the unlawful conduct, by promulgating or failing to promulgate policies and
15    procedures pursuant to which the unlawful conduct occurred, by failing and refusing to initiate and
16    maintain proper and adequate policies, procedures and protocols, and by ratifying and condoning the
17    unlawful conduct performed by agents and officers under their direction and control.
18           24.     Whenever and wherever reference is made in this Complaint to any act by Defendants
19    DOES 1-50, such allegations and references shall also be deemed to mean the acts and failures to act
20    of each DOE Defendants individually, jointly or severally.
21                                        ADMINISTRATIVE PREREQUISITES
22           25.     Plaintiff is required to comply with an administrative tort claim requirement under
23    California law. Plaintiff filed a claim against the City of Anaheim on November 5, 2018. Plaintiff
24    has exhausted all administrative remedies pursuant to California Government Code Section 910.
25                                             GENERAL ALLEGATIONS
26           26.     On October 27, 2018 at or about 8:30 a.m. at or near 2235 W. Broadway, Apt. A115 in
27    Anaheim, California, Defendant Anaheim Police Department Officers responded to a service call.
28    During this call, the Defendant Police Officers WANG, LEE, and/or DOES 1-25 confronted




                                         Second Amended Complaint for Damages - 6
     Case 8:19-cv-00315-JLS-JDE Document 32 Filed 10/13/19 Page 7 of 20 Page ID #:184




1     Decedent at his home. Mike Perkins, a percipient witness, recalls hearing Decedent objecting to an
2     accusation that he had assaulted someone earlier that day. The defendant officers WANG, LEE,
3     and/or DOES 1-25 then attempted to arrest Decedent and take him into custody. During the attempt,
4     Defendants WANG, LEE, and/or DOES 1-25 repeatedly and brutally struck Decedent about his head,
5     face, and body with closed fists. Witness accounts reported that Decedent merely attempted to protect
6     himself from the vicious attack. Decedent’s uncle, Plaintiff Mike Perkins stood within feet of the
7     struggle and repeatedly shouted to Defendants WANG, LEE, and/or DOES 1-25 informing them that
8     Decedent suffered from a mental disorder and had been previously diagnosed as bipolar.
9            27.     Nonetheless, Defendants WANG, LEE, and/or DOES 1-25 continued their assault on
10    Decedent with several baton strikes to his head and body. Finally, on information and belief, one of
11    the defendant officers dropped his baton and began to choke Decedent with an unapproved
12    chokehold. The second defendant officer continued to physically strike Decedent about his head and
13    body while the other defendant officer choked Decedent. On information and belief, Decedent did not
14    attempt to strike the officers during the altercation but did attempt to break the hold of the Defendant
15    officer who was choking him and to protect himself from the assault of Defendants WANG, and/or
16    LEE, and/or DOES 1-25.
17           28.     Defendants WANG, and/or LEE, and/or DOES 1-25 continued to beat and choke
18    Decedent until his body went limp. The officers then handcuffed Decedent and stood him to his feet.
19    Decedent appeared visually dazed and unable to stand on his own power. Defendants EDGAR and
20    REYNOSO forced Decedent to walk with their assistance for a few feet before Decedent collapsed.
21    After Decedent collapsed, Defendants EDGAR, REYNOSO, and MORRISON proceeded to apply
22    pressure to Decedent’s back while was lying prone on the ground and the ground and laboring to
23    breathe, on information and belief-obstructing his ability to breathe. Defendants EDGAR,
24    REYNOSO, and MORRISON then proceeded to apply a hobble restraint to Decedent while it was
25    evident that Decedent was still laboring to breathe and in the midst of a medical emergency. On
26    information and belief, Defendants EDGAR, REYNOSO, and MORRISON’s conduct in applying
27    pressure to Decedent’s back while he was lying prone on the ground and applying a hobble restraint
28




                                        Second Amended Complaint for Damages - 7
     Case 8:19-cv-00315-JLS-JDE Document 32 Filed 10/13/19 Page 8 of 20 Page ID #:185




1     while Decedent was laboring to breathe, exacerbated the physical distress that led to Decedent’s
2     death.
3              29.    On information and belief, Plaintiff contends after a period of at least forty-five (45)
4     minutes without providing medical attention Decedent was later transported to Anaheim West
5     Hospital. On information and belief, Plaintiff contends Decedent’s body and organs were severely
6     damaged due to lack of oxygen. Decedent was later pronounced dead at Anaheim West Hospital on
7     October 31, 2018.
8              30.    On information and belief, Plaintiff contends Decedent exhibited signs of physical
9     trauma, including being dazed and unable to stand on his own power, however he was denied any
10    medical attention. On information and belief, Plaintiff contends Decedent’s uncle made several verbal
11    requests for medical attention for Decedent. However, the requests were disregarded by Defendants
12    WANG, and/or LEE, EDGAR, REYNOSO, MORRISON, and/or DOES 1-25, who made Decedent
13    walk on his own while he was weak.
14             31.    Plaintiff further contends on information and belief that Decedent's death was
15    proximately caused by the breach of the standard of care he suffered at the hands of the Defendant
16    Officers.
17             32.    Plaintiff alleges on information and belief that reasonable officers in Defendants’
18    position would have clearly been on notice that Decedent required medical attention prior to his death.
19             33.    The actions and omissions of Defendants WANG, and/or LEE, EDGAR, REYNOSO,
20    MORRISON, and/or DOES 1-25 were objectively unreasonable under the circumstances, without
21    legal justification or other legal right, done under color of law, within the course and scope of their
22    employment as law enforcement officers and/or public officials, and pursuant to unconstitutional
23    customs, policies and procedures of City and/or other jurisdictions.
24             34.    Plaintiff is informed and believes and thereon alleges that CITY and one or more
25    DOES 26-50, inclusive, breached their duty of care to the public in that they have failed to discipline
26    WANG, LEE, EDGAR, REYNOSO, MORRISON, and/or DOES 1-25. Their failure to discipline
27    WANG, LEE, EDGAR, REYNOSO, MORRISON, and/or DOES 1-25 inclusive, demonstrates the
28    existence of an entrenched culture, policy or practice of promoting, tolerating and/or ratifying with




                                          Second Amended Complaint for Damages - 8
     Case 8:19-cv-00315-JLS-JDE Document 32 Filed 10/13/19 Page 9 of 20 Page ID #:186




1     deliberate indifference the making of improper detentions and arrests, the use of excessive and/or
2     deadly force and the fabrication of official reports to cover up WANG, LEE, EDGAR, REYNOSO,
3     MORRISON, and/or DOES 1-25’s inclusive, misconduct.
4             35.      At all material times, and alternatively, the actions and omissions of each Defendant
5     were conscience-shocking, reckless, deliberately indifferent to Decedent’s and Plaintiff’s rights,
6     negligent, and objectively unreasonable.
7                                            MONELL ALLEGATIONS
8             36.      Based upon the principles set forth in Monell v. New York City Department of Social
9     Services, 436 U.S. 658 (1978), CITY is liable for all injuries sustained by Plaintiff as set forth herein.
10    CITY bears liability because its policies, practices and/or customs were a cause of Decedent's death
11    and Plaintiff’s injuries. CITY and its officials maintained or permitted one or more of the following
12    official policies or customs:
13                  a) Failure to provide adequate training and supervision to police officers with respect to
14                     constitutional limits on the use of deadly force;
15                  b) Failure to provide adequate training and supervision to police officers with respect to
16                     constitutional limits on use of force, arrest, search, and detention;
17                  c) Failure to adequately discipline or retrain officers involved in misconduct;
18                  d) Failure to provide adequate training and supervision to police officers with respect to
19                     constitutional limits on de-escalation techniques during contacts with the mentally
20                     impaired;
21                  e) Encouragement of officers in the belief that they can violate the rights of persons, such
22                     as Plaintiff, with impunity, and that such conduct will not adversely affect their
23                     opportunities for promotion and other employment benefits;
24                  f) Ratification by the highest levels of authority of the specific unconstitutional acts
25                     alleged in this complaint and, in particular, the ratification of the unjustified execution
26                     of Decedent; and
27                  g) Failure to provide adequate medical treatment, including first aid.
28




                                           Second Amended Complaint for Damages - 9
 Case 8:19-cv-00315-JLS-JDE Document 32 Filed 10/13/19 Page 10 of 20 Page ID #:187




1                                                           DAMAGES
2             37.     As a consequence of Defendants’ violation of Plaintiff’s federal civil rights under 42
3     U.S.C. §§ 1983, 12132, the Fourth and Fourteenth Amendments, Plaintiff was mentally, and
4     emotionally injured and damaged as a proximate result of Decedent’s wrongful death, including but
5     not limited to: Plaintiff’s loss of familial relations, Decedent’s society, comfort, protection,
6     companionship, love, affection, solace, and moral support and financial support.
7             38.     Plaintiff seeks both survival and wrongful death damages, pursuant to C.C.P. Sections
8     377.60 and 377.61 and Probate Code Section 6402(b), for the violation of both Decedent’s and their
9     rights. Additionally, Plaintiff is entitled to the reasonable value of funeral and burial expenses
10    pursuant to C.C.P. §§ 377.60 and 377.61 and loss of financial support.
11            39.     Plaintiff is further entitled to recover damages incurred by Decedent before he died as
12    a result of being deprived without due process of his right to life, and to any penalties or punitive
13    damages to which Decedent would have been entitled to recover had he lived, including damages
14    incurred by Decedent consisting of pain and suffering he endured as a result of the violation of his
15    civil rights.
16            40.     Plaintiff found it necessary to engage the services of private counsel to vindicate the
17    rights of Decedent and Plaintiff’s rights under the law. Plaintiff is therefore entitled to an award of
18    attorneys’ fees and/or costs pursuant to statute(s) in the event that they are the prevailing party in this
19    action under 42 U.S.C. § 1983, and 1988.
20
                                   FIRST CAUSE OF ACTION
21
                                       (42 U.S.C. section 1983)
22                                        (Excessive Force)
           (Plaintiff TERESA PERKINS, Successor-in-Interest to Decedent Justin Perkins against
23           Defendants WANG, LEE, EDGAR, REYNOSO, MORRISON, and/or DOES 1-25)
24            41.     Plaintiff hereby re-alleges and incorporates by reference herein paragraphs 1 through
25   40 of this Complaint.
26            42.     The foregoing claim for relief arose in Decedent’s favor and Decedent would have
27   been the Plaintiff with respect to this claim if he had lived.
28




                                         Second Amended Complaint for Damages - 10
 Case 8:19-cv-00315-JLS-JDE Document 32 Filed 10/13/19 Page 11 of 20 Page ID #:188




1            43.     Defendant(s) unjustified beating and subsequent excessive restraint deprived Decedent
2    of his right to be secure in his person against unreasonable searches and seizures as guaranteed to
3    Decedent under the Fourth Amendment to the United States Constitution and applied to state actors by
4    the Fourteenth Amendment.
5            44.     As a result, Decedent suffered extreme pain and suffering and eventually suffered a
6    loss of life and of earning capacity. Plaintiff has also been deprived of the life-long love,
7    companionship, comfort, support, society, care, and sustenance of Decedent, and will continue to be
8    so deprived for the remainder of her natural life.
9            45.     This use of deadly force was excessive and unreasonable under the circumstances,
10   especially since Decedent never injured or attempted to injure any officer or any other person.
11   Moreover, the officers continued to physically strike Decedent in the head and choke Decedent while
12   he posed no threat of harm. Defendants' actions thus deprived Decedent of his right to be free from
13   unreasonable searches and seizures under the Fourth Amendment and applied to state actors by the
14   Fourteenth Amendment.
15           46.     The conduct of Defendants was willful, wanton, malicious, and done with reckless
16   disregard for the rights and safety of Decedent.
17           WHEREFORE, Plaintiff prays for relief as hereinafter set forth.
18
                                     SECOND CAUSE OF ACTION
19
                                          (42 U.S.C. section 1983)
20                                       (Denial of Medical Care)
              (Plaintiff TERESA PERKINS, Successor-in-Interest to Decedent Justin Perkins against
21              Defendants WANG, LEE, EDGAR, REYNOSO, MORRISON, and/or DOES 1-25)
22           47.     Plaintiff hereby re-alleges and incorporates by reference herein paragraphs 1 through
23    46 of this Complaint.
24           48.     The foregoing claim for relief arose in Decedent’s favor and Decedent would have
25   been the Plaintiff with respect to this claim if he had lived.
26           49.     The denial of medical care by Defendants deprived Decedent of his right to be secure
27   in his person against unreasonable searches and seizures as guaranteed to Decedent under the Fourth
28




                                         Second Amended Complaint for Damages - 11
 Case 8:19-cv-00315-JLS-JDE Document 32 Filed 10/13/19 Page 12 of 20 Page ID #:189




1    Amendment to the United States Constitution and applied to state actors by the Fourteenth
2    Amendment.
3            50.     As a result, Decedent suffered extreme pain and suffering and eventually suffered a
4    loss of life and earning capacity. Plaintiff has also been deprived of the life-long love, companionship,
5    comfort, support, society, care, and sustenance of Decedent, and will continue to be so deprived for
6    the remainder of her natural life.
7            51.     Defendants knew that failure to provide timely medical treatment to Decedent could
8    result in further significant injury or the unnecessary and wanton infliction of pain, but disregarded
9    that serious medical need, causing Decedent great bodily harm and death.
10           52.     The conduct of Defendants was willful, wanton, malicious, and done with reckless
11   disregard for the rights and safety of Decedent.
12           WHEREFORE, Plaintiff prays for relief as hereinafter set forth.
13
                                              THIRD CAUSE OF ACTION
14
                                                   (42 U.S.C. § 1983)
15                 (Violation of Plaintiffs’ 14th Amendment Rights/Right to Familial Relationship)
               (Plaintiff TERESA PERKIN, Successor-in-Interest to Decedent Justin Perkins against
16               Defendants WANG, LEE, EDGAR, REYNOSO, MORRISON, and/or DOES 1-25)
17           53.     Plaintiff hereby re-alleges and incorporates by reference herein paragraphs 1 through
18   52 of this Complaint.
19           54.     Plaintiff TERESA PERKINS had a cognizable interest under the Due Process Clause
20   of the Fourteenth Amendment of the United States Constitution to be free from state actions that
21   deprive them of life, liberty, or property in such a manner as to shock the conscience, including but
22   not limited to, unwarranted state interference in Plaintiff’s familial relationship with her son,
23   Decedent.
24           55.     Decedent had a cognizable interest under the Due Process Clause of the Fourteenth
25   Amendment of the United States Constitution to be free from state actions that deprive him of his right
26   to life, liberty, or property in such a manner as to shock the conscience.
27           56.     As a result of the excessive force by Defendants, Decedent died. Plaintiff was thereby
28   deprived of her constitutional right of familial relationship with her son, Decedent.




                                          Second Amended Complaint for Damages - 12
 Case 8:19-cv-00315-JLS-JDE Document 32 Filed 10/13/19 Page 13 of 20 Page ID #:190




1            57.     Defendants, acting under color of state law, thus violated the Fourteenth Amendment
2    rights of Plaintiff to be free from unwarranted interference with her familial relationship with
3    Decedent.
4            58.     The aforementioned actions of Defendants, along with other undiscovered conduct,
5    shock the conscience, in that they acted with deliberate indifference to the constitutional rights of
6    Decedent, Plaintiff TERESA PERKINS, and with purpose to harm unrelated to any legitimate law
7    enforcement objective.
8            59.     Defendants, acting under color of state law, thus violated the Fourteenth Amendment
9    rights of Decedent and Plaintiff.
10           60.     As a direct and proximate cause of the acts of Defendants, Decedent experienced
11   severe pain and suffering and lost his life and earning capacity. Plaintiff suffered extreme and severe
12   mental anguish and pain and has been injured in mind and body. Plaintiff has also been deprived of
13   the life-long love, companionship, comfort, support, society, care and sustenance of Decedent, and
14   will continue to be so deprived for the remainder of her natural life.
15           61.     As a result of the conduct of Defendants, they are liable for Decedent's injuries, either
16   because they were integral participants in the denial of due process, or because they failed to intervene
17   to prevent these violations.
18           62.     The conduct of Defendants was willful, wanton, malicious, and done with reckless
19   disregard for the rights and safety of Decedent and Plaintiff.
20           WHEREFORE, Plaintiff prays for relief as hereinafter set forth.
21
                                          FOURTH CAUSE OF ACTION
22
                                              (42 U.S.C. Section 1983)
23                       (Monell - Municipal Liability for Unconstitutional Custom or Policy)
              (Plaintiff TERESA PERKINS, Successor-in-Interest to Decedent Justin Perkins against
24                                       Defendants City and DOES 26-50)
25           63.     Plaintiff hereby re-alleges and incorporates by reference herein paragraphs 1 through
26   62 of this Complaint.
27

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                                         Second Amended Complaint for Damages - 13
 Case 8:19-cv-00315-JLS-JDE Document 32 Filed 10/13/19 Page 14 of 20 Page ID #:191




1            64.     On information and belief Defendants’ WANG, LEE, EDGAR, REYNOSO,
2    MORRISON, and/or DOES 1-25 conduct, individually and as peace officers was ratified by one or
3    more of City’s police department supervisorial officers DOES 26-50.
4            65.     On information and belief, Defendants were not disciplined for the killing of
5    Decedent.
6            66.     On and for some time prior to October 27, 2018, (and continuing to the present day)
7    one or more of Defendants, individually and as peace officers, deprived Plaintiff and Decedent of the
8    rights and liberties secured to them by the Fourth and Fourteenth Amendment to the United States
9    Constitution, in that said defendants and their supervising and managerial employees, agents, and
10   representatives, acting with gross negligence and with reckless and deliberate indifference to the rights
11   and liberties of the public in general, and of Plaintiff and Decedent, and of persons in their class,
12   situation and comparable position in particular, knowingly maintained, enforced and applied an
13   official recognized custom, policy, and practice of:
14                   a) Inadequately supervising, training, controlling, CITY police officers to provide
15                       medical attention to those whom they use force against;
16                   b) Of inadequately supervising, training, controlling, assigning, and disciplining
17                       CITY Police officers, and other personnel, including Defendants in responding to
18                       individuals who were mentally impaired or disabled;
19                   c) By maintaining grossly inadequate procedures for reporting, supervising,
20                       investigating, reviewing, disciplining and controlling the intentional misconduct
21                       by Defendants who are Police Officers of CITY;
22                   d) By failing to discipline CITY Police Officers’ conduct, including but not limited
23                       to, unlawful detention and excessive and deadly force;
24                   e) By ratifying the intentional misconduct of Defendants and other officers who are
25                       Police Officers of CITY; and
26                   f) By failing to properly investigate claims of unlawful detention and excessive force
27                       by CITY Police Officers.
28




                                        Second Amended Complaint for Damages - 14
 Case 8:19-cv-00315-JLS-JDE Document 32 Filed 10/13/19 Page 15 of 20 Page ID #:192




1            67.      By reason of the aforementioned policies and practices of Defendants WANG, LEE,
2    EDGAR, REYNOSO, MORRISON, and/or DOES 1-25, individually and as peace officers, Decedent
3    was severely injured and subjected to pain and suffering and lost his life and earning capacity for
4    which Plaintiff is entitled to recover damages.
5            68.      Defendants, individually and as peace officers, together with various other officials,
6    whether named or unnamed, had either actual or constructive knowledge of the deficient policies,
7    practices and customs alleged in the paragraphs above. Despite having knowledge as stated above
8    these defendants condoned, tolerated and through actions and inactions thereby ratified such policies.
9    Said defendants also acted with deliberate indifference to the foreseeable effects and consequences of
10   these policies with respect to the constitutional rights of Decedent, Plaintiff, and other individuals
11   similarly situated.
12           69.      By perpetrating, sanctioning, tolerating and ratifying the outrageous conduct and other
13   wrongful acts, Defendants, individually and as peace officers; acted with an intentional, reckless, and
14   callous disregard for the life of Decedent. Each of their actions were willful, wanton, oppressive,
15   malicious, fraudulent, and extremely offensive and unconscionable to any person of normal
16   sensibilities.
17           70.      Furthermore, the policies practices, and customs implemented and maintained and still
18   tolerated by Defendants, individually and as peace officers; were affirmatively linked to and were
19   significantly influential force behind the injuries of Decedent and Plaintiff.
20           71.      By reason of the aforementioned acts and omissions of Defendants, individually and
21   as peace officers, Plaintiff was caused to incur funeral and related burial expenses, loss of gifts and
22   benefits and loss of financial support.
23           72.      By reason of the aforementioned acts and omissions of Defendants, individually and
24   as peace officers, Plaintiff has suffered loss of love, companionship, affection, comfort, care, society,
25   and future support.
26           73.      Accordingly, Defendants, individually and as peace officers, each are liable to
27   Plaintiff for compensatory damages under 42 U.S.C. § 1983.
28           WHEREFORE, Plaintiff prays for relief as hereinafter set forth.




                                        Second Amended Complaint for Damages - 15
 Case 8:19-cv-00315-JLS-JDE Document 32 Filed 10/13/19 Page 16 of 20 Page ID #:193




1
                                      FIFTH CAUSE OF ACTION
2
                                  (Violation of 42 U.S.C. Section 12132)
3            (Plaintiff TERESA PERKINS, Successor-in-Interest to Decedent Justin Perkins against
                                      all Defendants herein)
4
            74.     Plaintiff hereby realleges and incorporates by reference herein paragraphs 1 through
5
     73 of this Complaint.
6
            75.     As against Defendant CITY, and DOES 26-50 in her/their capacity as official policy-
7
     maker(s) for the CITY, Plaintiff further alleges that said defendants failed to train, supervise, and or
8
     discipline Defendants WANG, LEE, EDGAR, REYNOSO, MORRISON, and/or DOES 1-25, in
9
     recognizing symptoms of disability under title II of the Americans With Disabilities Act; from
10
     excluding qualified individuals such as Decedent from participation in or denial of benefits of
11
     services provided by Defendant CITY, or in otherwise discriminating against such qualified
12
     individuals with symptoms of disability recognized under title II of the Americans with Disabilities
13
     act, resulting in the killing of Decedent during the course of the subject-incident and her resulting
14
     damages.
15
            76.     At the time Defendant Officers WANG, and/or LEE, and/or DOES 1-25 responded to
16
     the call for service, after personally encountering Decedent and obtaining information from Mike
17
     Perkins, Defendant Officers WANG, LEE, and/or DOES 1-25, were faced with no reasonable
18
     exigency when they begin to force Decedent from the doorway of his home. Said defendants had no
19
     information, and no reasonable belief, that anyone other than Decedent was present inside the unit,
20
     and were aware of Decedent’s disability and the symptoms and manifestations of Decedent’s
21
     recognized disability. The aforementioned conduct of Defendant Officers WANG, LEE, and/or
22
     DOES 1-25, excluded Decedent from participation in, denied Decedent the benefits of Defendant
23
     CITY’s programs and activities, and/or discriminated against Decedent.
24
            77.     The exclusion, denial of benefits, and/or discrimination against Decedent was by
25
     reason of Decedent’s recognized disability.
26
            WHEREFORE, Plaintiff prays for relief as hereinafter set forth.
27

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                                       Second Amended Complaint for Damages - 16
 Case 8:19-cv-00315-JLS-JDE Document 32 Filed 10/13/19 Page 17 of 20 Page ID #:194




                                      SIXTH CAUSE OF ACTION
1
                                    (C.C.P. Section 377.60 and 377.61)
2                                     (Wrongful Death- Negligence)
              (Plaintiff TERESA PERKINS, Successor-in-Interest to Decedent Justin Perkins against
3               Defendants WANG, LEE, EDGAR, REYNOSO, MORRISON, and/or DOES 1-25)
4            78.     Plaintiff re-alleges and incorporates by reference herein paragraphs 1 through 77 of
5    this Complaint, except for any and all allegations of intentional, malicious, extreme, outrageous,
6    wanton, and oppressive conduct by defendants, and any and all allegations requesting punitive
7    damages.
8            79.     Defendants beat and restrained Decedent until he died despite the absence of a threat
9    to a defendant officer or any other person. Because Decedent died intestate, unmarried, and without
10   issue, Plaintiff is the proper person to sue for his wrongful death under California state law.
11           80.     Defendants’ negligent actions and/or negligent failure to act within the scope and
12   course of their employment with Defendant City, as set forth herein-above proximately caused the
13   death of Decedent.
14           81.     As an actual and proximate result of said Defendants’ negligence, and the death of
15   Decedent, Plaintiff has sustained pecuniary loss resulting from the loss of comfort, society, attention,
16   services, and support of her son, Decedent, in an amount according to proof at trial.
17           82.     As a further actual and proximate result of said Defendants’ negligence, Plaintiff has
18   incurred funeral and burial expenses, in an amount according to proof at trial.
19           83.     Pursuant to California C.C.P. Sections 377.60 and 377.61, Plaintiff has brought this
20   action, and claim damages from said Defendants for the wrongful death of Decedent, and the resulting
21   injuries and damages.
22           WHEREFORE, Plaintiff prays for relief as hereinafter set forth.
23
                                      SEVENTH CAUSE OF ACTION
24
                                  (Violation of California Civil Code §52.1)
25            (Plaintiff TERESA PERKINS, Successor-in-Interest to Decedent Justin Perkins against
             Defendants WANG, LEE, EDGAR, REYNOSO, MORRISON, and/or DOES 1-25)
26
             84.     Plaintiff hereby re-alleges and incorporates by reference herein paragraphs 1 through
27
     83 of this Complaint.
28




                                        Second Amended Complaint for Damages - 17
 Case 8:19-cv-00315-JLS-JDE Document 32 Filed 10/13/19 Page 18 of 20 Page ID #:195




1            85.     Defendants’ above-described conduct constituted interference, and attempted
2    interference, by threats, intimidation and coercion, with the Decedent's peaceable exercise and
3    enjoyment of rights secured by the Constitution and laws of the United States and the State of
4    California, in violation of California Civil Code §52.1.
5            86.     As a direct and proximate result of Defendant's violation of Civil Code § 52.1,
6    Decedent suffered violations of his constitutional rights, and suffered damages as set forth herein.
7            87.     Plaintiff is entitled to injunctive relief and an award of her reasonable attorney’s fees
8    pursuant to Civil Code § 52.1(h).
9            88.     Plaintiff is entitled to treble damages, but in no case less than $4,000.00 and an award
10   of her reasonable attorney’s fees pursuant to Civil Code § 52(a).
11           89.     Under the provisions of California Civil Code §52(b), Defendant is liable for punitive
12   damages for each violation of Civil Code §52.1, reasonable attorney’s fees and an additional
13   $25,000.00.
14           WHEREFORE, Plaintiff prays for relief as hereinafter set forth.
15
                                     EIGHTH CAUSE OF ACTION
16
                                        (Survival Action: Assault)
17            (Plaintiff TERESA PERKINS, Successor-in-Interest to Decedent Justin Perkins against
                Defendants WANG, LEE, EDGAR, REYNOSO, MORRISON, and/or DOES 1-25)
18
             90.     Plaintiff hereby re-alleges and incorporates by reference herein paragraphs 1 through
19
     89 of this Complaint.
20
             91.     Defendants caused Decedent to fear that he was going to be beat and killed.
21
             92.     Defendants beat Decedent without cause. Defendants' conduct was neither privileged
22
     nor justified under statute or common law.
23
             WHEREFORE, Plaintiff prays for relief as hereinafter set forth.
24

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                                         Second Amended Complaint for Damages - 18
 Case 8:19-cv-00315-JLS-JDE Document 32 Filed 10/13/19 Page 19 of 20 Page ID #:196




                                     NINTH CAUSE OF ACTION
1
                                       (Survival Action: Battery)
2            (Plaintiff TERESA PERKINS, Successor-in-Interest to Decedent Justin Perkins against
               Defendants WANG, LEE, EDGAR, REYNOSO, MORRISON, and/or DOES 1-25)
3
            93.     Plaintiff hereby re-alleges and incorporates by reference herein paragraphs 1 through
4

5    92 of this Complaint.

6           94.     Defendants’ conduct was neither privileged nor justified under statute or common law.
7
            WHEREFORE, Plaintiff prays for relief as hereinafter set forth.
8
                                         TENTH CAUSE OF ACTION
9                         (Survival Action: Intentional Infliction of Emotional Distress)
10
            (Plaintiffs TERESA PERKINS, Successor-in-Interest to Decedent Justin Perkins against
               Defendants WANG, LEE, EDGAR, REYNOSO, MORRISON, and/or DOES 1-25)
11
            95.     Plaintiff hereby re-alleges and incorporates by reference herein paragraphs 1 through
12
     94 of this Complaint.
13
            96.     Defendants’ above-described conduct was extreme, unreasonable and outrageous.
14
            97.     In engaging in the above-described conduct, defendant intentionally ignored or
15
     recklessly disregarded the foreseeable risk that Decedent would suffer extreme emotional distress as a
16
     result of defendants conduct.
17
            WHEREFORE, Plaintiff prays for relief as hereinafter set forth.
18

19                                   ELEVENTH CAUSE OF ACTION
                                  (Negligent Infliction of Emotional Distress)
20
               (Plaintiff DAVID MICHAEL PERKINS against Defendants WANG, LEE, EDGAR,
21                               REYNOSO, MORRISON, and/or DOES 1-25)
            98.      Plaintiff hereby re-alleges and incorporates by reference herein paragraphs 1 through
22

23
     97 of this Complaint.
            99.     Defendant’s engaged in negligent conduct or a willful violation of a statutory
24
     standard; Plaintiff suffered serious emotional distress, and; The Defendants negligent conduct or
25
     willful violation of statutory standards was a cause of the serious emotional distress.
26
            100.    Decedent’s uncle, Plaintiff DAVID MICHAEL PERKINS stood within feet of the
27

28
     struggle and repeatedly shouted to Defendants WANG, LEE, and/or DOES 1-25 informing them that




                                       Second Amended Complaint for Damages - 19
 Case 8:19-cv-00315-JLS-JDE Document 32 Filed 10/13/19 Page 20 of 20 Page ID #:197




1    Decedent suffered from a mental disorder and had been previously diagnosed as bipolar. Said
2    Plaintiff was within the zone danger.
3           101.    In engaging in the above-described conduct, defendants intentionally ignored or
4    recklessly disregarded the foreseeable risk that Plaintiff would suffer extreme emotional distress as a
5    result of defendants conduct.
6           WHEREFORE, Plaintiff prays for relief as hereinafter set forth.
7
                                                     JURY DEMAND
8
            102.    Plaintiff hereby demands a jury trial in this action.
9
                                                         PRAYER
10
            WHEREFORE, Plaintiff prays for relief, as follows:
11
            1.      For general damages in a sum according to proof;
12
            2.      For special damages in a sum according to proof;
13
            3.      For punitive damages in a sum according to proof as to WANG, LEE, EDGAR,
14
                    REYNOSO, MORRISON, and DOES 1-25;
15
            4.      For reasonable attorney’s fees pursuant to 42 U.S.C. Section 1988;
16
            5.      For any and all statutory damages allowed by law;
17
            6.      For cost of suit herein incurred; and
18
            7.      For such other and further relief as the Court deems just and proper.
19

20

21
     Dated: October 14, 2019                                 Law Offices of John L. Burris
22

23

24                                                           __/s/ John L. Burris__                 _
                                                               John L. Burris, Esq.,
25                                                             Attorney for Plaintiffs
26

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                                       Second Amended Complaint for Damages - 20
